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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 RICO PERRY,
                             Plaintiff,

                v.
                                                     Civil Action No. 1:23-CV-10228-WGY
 BRIAN HIGGINS, et al.,

                             Defendant.


       DEEFENDANTS’ MOTION TO WITHDRAW ITS MOTION TO DISMISS

       Defendants, by and through their attorney, Joshua S. Levy, Acting U.S. Attorney for the

District of Massachusetts, move to withdraw their Motion to Dismiss that was filed on October

3, 2024. Doc. No. 40. Defendants moved to dismiss Plaintiff Rico Perry’s (“Plaintiff”)

Complaint against Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) Agents Brian

Higgins and Keith Medeiros because Plaintiff had failed to perfect service within the time

provided by the Federal Rules of Civil Procedure. Doc. No. 41.

       However, since the time of the filing of Defendants Motion to Dismiss, the undersigned

reached agreement with Plaintiff’s counsel as to completing service on Defendants in accordance

with Fed. R. Civ. P. 4(e)(2)(C) by delivering a copy of the summons and the complaint to ATF

agency counsel. Plaintiff’s counsel has informed the undersigned that this service will be

completed within the next three weeks. Defendants will respond to Plaintiff’s complaint within

60 days after service is completed per Fed. R. Civ. P. 12(a)(3).

       As such, Defendants’ request this Court withdraw their Motion to Dismiss and cancel the

hearing the Court on the Motion to Dismiss currently scheduled for November 20, 2024.
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                                                     Respectfully submitted,


                                                     JOSHUA S. LEVY
                                                     Acting United States Attorney

Dated: November 14, 2024                      By:    /s/ Mark Sauter
                                                     Mark Sauter
                                                     Assistant United States Attorney
                                                     United States Attorney’s Office
                                                     1 Courthouse Way, Suite 9200
                                                     Boston, MA 02210
                                                     Tel.: 617-748-3347
                                                     Email: mark.sauter@usdoj.gov


                            LOCAL RULE 7.1 CERTIFICATION

        I, Mark Sauter, hereby certify that pursuant to L.R. 7.1(a)(2), I conferred with Plaintiff’s
counsel in advance of filing this motion in a good faith attempt to narrow or resolve the issues
raised by this motion.

Dated: November 14, 2024                      By:    /s/ Mark Sauter
                                                     Mark Sauter


                                CERTIFICATE OF SERVICE

        I, Mark Sauter, Assistant United States Attorney, hereby certify that this document filed
through the ECF system will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants.

Dated: November 14, 2024                      By:    /s/ Mark Sauter
                                                     Mark Sauter




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